Case 2:21-cr-00013-JPJ-PMS Document 106 Filed 02/07/23 Page 1 of 7 Pageid#: 243




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF VIRGINIA
                        BIG STONE GAP DIVISION

  UNITED STATES OF AMERICA                         )
                                                   )
                                                   )     Case No. 2:21CR00013
                                                   )
  v.                                               )    OPINION AND ORDER
                                                   )
  CHRISTOPHER MICHAEL ANDERSON,                    )     JUDGE JAMES P. JONES
                                                   )
                                                   )
                   Defendant.                      )

       Zachary T. Lee, Assistant United States Attorney, Abingdon, Virginia, for
 United States; Nancy Dickenson-Vicars, Assistant Federal Public Defender,
 Abingdon, Virginia, for Defendant.

       Before the court is a Motion for Recusal filed on behalf of the defendant. The

 Motion asks that I recuse myself because one of my recently hired law clerks is a

 former Assistant Federal Public Defender (AFPD) in this district. For the reasons

 that follow, I will deny the Motion.

                                          I.

       On November 1, 2022, the defendant pleaded guilty to one count of possessing

 a firearm after having been convicted of a misdemeanor crime of domestic violence.

 The defendant sentencing for this conviction is pending upon his completion of the



       On January 9, 2023, two days after her employment ended with the Federal
Case 2:21-cr-00013-JPJ-PMS Document 106 Filed 02/07/23 Page 2 of 7 Pageid#: 244




 Motion. Prior to her current role, the law clerk served for four years as an AFPD in




 involved in any of those matters.

       The next day, on January 10, 2023, the Federal Public Defender currently

 serving this district, Juval O. Scott, emailed a letter to the Chief Judge of this court,

 with a copy to me.1 In that letter, she requested that the Chief Judge transfer to other

 judges all matters assigned to me that involved her office. The Chief Judge

 responded by letter, explaining that my new law clerk was restricted from working



 conflict of interest and the appearance of such a conflict. Unsatisfied, Ms. Scott

 replied to the Chief Judge, conveying her opinion that the isolation of my law clerk

 was insufficient.

       A few days later the present Motion was filed, along with identical motions in

 eleven other cases.2 It is asserted th

 collaborative environment in which cases are discussed amongst employees and case


       1
           This correspondence is part of the record of the hearing on the present Motion.
       2
           Although the motions and supporting briefs were filed by an assistant federal
 public defender, and the assistant appeared at the hearing on the Motion, the arguments by
 the assistant generally follow the contentions Ms. Scott made in her correspondence with
 the Chief Judge.

                                             -2-
Case 2:21-cr-00013-JPJ-PMS Document 106 Filed 02/07/23 Page 3 of 7 Pageid#: 245




 information is accessible by all. It is alleged that my new law clerk served in a

 leadership capacity within the office until September 2022. In short, it is contended

 that that my law clerk had access to confidential and privileged client information

 and that my employ of her would thus cause a reasonable person to doubt my

 impartiality. Counsel also criticizes the fact that I did not notify Ms. Scott of my



 chambers. It is contended that the hiring shortly after                  departure from

                              , and without notice,                appearance of a court

                                                                                        2.

 It is not asserted that there might be an appearance of any so-called hostility toward

 the defendant.3

        A hearing on the Motion was held on February 2, 2023, at which the

 government expressed its opposition to the Motion and the other eleven identical

 motions. The government, citing to numerous legal authorities regarding law clerk

                                                                   he appearance of any

 conflict or impartiality.




        3
            It is argued
 clients of the                          because its lawyers must appear detached from the
                             Id. at 5.
                                             -3-
Case 2:21-cr-00013-JPJ-PMS Document 106 Filed 02/07/23 Page 4 of 7 Pageid#: 246




                                          II.

       It is argued that 28 U.S.C. § 455(a) mandates recusal. That statute provides



                                                                            28 U.S.C. §

 455(a). The same language is echoed in Canon 3(C)(1) of the Code of Conduct for

 United States Judges, reprinted in 175 F.R.D. 363, 368.

       The standard for disqualification is an objective one.         United States v.

 DeTemple, 162 F.3d 279, 286 (4th Cir. 1998). The critical issue is not whether the

                                                                                     his

                                                   Id. (internal quotation marks and

 citation omitted). The hypothetical reasonable person is a well-informed observer

 who assesses all those circumstances. Id. at 286. As the Fourth Circuit has opined,

 judges must be mindful that they may view conflicts as being more harmless than an

 outsider would. Id.                                       upported, irrational, or [that

                                                                          Congress did

 not intend for the disqualification statute to give litigants veto power over the

 assignment of judges. Id. (citation omitted).

       Moreover, it is well-

 imputed to the judge. Id. at 286 n.2. A law clerk does not exercise discretion and

 acts only in service of the supervising judge.


                                          -4-
Case 2:21-cr-00013-JPJ-PMS Document 106 Filed 02/07/23 Page 5 of 7 Pageid#: 247




 Co., 120 F. Supp. 3d 509, 514 n.4 (S.D.W. Va. 2015)

                                                                       In re Allied-

 Signal Inc., 891 F.2d 967, 971 (1st Cir. 1989). Consequently, the isolation of the

 law clerk from the cases in which she has a conflict is usually the proper remedy.

 Worthham v. Karstadtquelle AG (In re Nazi Era Cases)

 Cir. 2005) (unpublished); United States v. Reggie, No. 13-111-SDD-SCR, 2014 WL

 1664256, at *2 (M.D. La. Apr. 25, 2014).




 point a member of a plaintiff class, had expressed her opinion on the merits of the



 firm before judgment in the case was rendered, had participated in the pretrial

 proceedings, and had drafted case-related memoranda for the judge, the appearance

 of partiality was present and required recusal. Hall v. Small Bus. Admin., 695 F.2d

 175, 176 77 (5th Cir. 1983). But the present circumstances are very different since

 my law clerk has been walled-off from this case and all other public defender

 matters.4




       4
          These are facts known before the Motion was filed because of
 correspondence with the Chief Judge.
                                         -5-
Case 2:21-cr-00013-JPJ-PMS Document 106 Filed 02/07/23 Page 6 of 7 Pageid#: 248




       Furthermore, this situation creates even less of a basis for an imputable

 conflict than those present in the multitude of cases in which courts have found

 recusal to be unnecessary. DeTemple, 162 F.3d at 286 n.2 (finding that the marriage



 part because the judge ensured the clerk did not work on the case); United States v.

 Martinez, 446 F.3d 878, 883 (8th Cir. 2006) (holding that the district court did not

 abuse its discretion in denying a motion to recuse involving a law clerk who formerly

 prosecuted the case but was screened from the case with the exception of ministerial

 duties); United States v. Ruff, 472 F.3d 1044, 1046 47 (8th Cir. 2007) (denying a

 motion to recuse involving a law clerk who formerly prosecuted the case when judge

 screened the law clerk from his criminal docket and did not allow the law clerk to

 work on the case or to otherwise discuss it).

       I note that many of the opinions to which the defendant cites do not involve



 DeTemple, 162 F.3d at 286 n.2 (discussed above); Mathis v. Huff & Puff Trucking,

 Inc., 787 F.3d 1297, 1313 (10th Cir. 2015) (finding recusal unnecessary in large part

 because the law clerk with the potential conflict did no substantive work on the case).

       Furthermore, the defendant cites to no authority to support the contention that

 a conflict is created because I did not discuss with Ms. Scott my hiring decision or




                                           -6-
Case 2:21-cr-00013-JPJ-PMS Document 106 Filed 02/07/23 Page 7 of 7 Pageid#: 249




 and informed observer could interpret my hiring decision as demonstrating hostility

 to the public

 waiver. See 28 U.S.C. § 455(e). As noted, Ms. Scott knew my law clerk would be

 screened from this case prior to the filing of this Motion but considered that fact

 irrelevant.

         Considering the undisputed facts and the overwhelming weight of precedent



                                                                           Ohio Valley

 Env Coal., 120 F. Supp. 3d at 514 n.4.

                                          III.

       Accordingly, it is ORDERED that the Motion for Recusal, ECF No. 100, is

 DENIED.



                                                 ENTER: February 7, 2023

                                                 /s/ JAMES P. JONES
                                                 Senior United States District Judge




                                          -7-
